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                             United States District Court
                              Middle District of Florida
                                Jacksonville Division

UNITED STATES OF AMERICA

v.                                                       NO. 3:17-cr-147-J-32PDB

MIGUEL PACHECO-LOPEZ



                                 Clerk’s Minutes

 Proceeding                    Arraignment
 Date                          August 22, 2017
 Time                          2:06―39 p.m.
 Judge                         Patricia Barksdale, United States Magistrate Judge
 Courtroom Deputy              Angela Loeschen, Courtroom Deputy
 Counsel for United States     Chip Corsmeier, Assistant United States Attorney
 Counsel for Defendant         Waffa Hanania, Assistant Federal Defender
                               Herminia Ajpacaja, K’iche’ Interpreter (by telephone)
 Interpreters
                               Edward Hogan, Spanish Interpreter (in person)
Filed in Open Court            Notice of Acceptance of General Discovery
Digital/Reporter               Digital

Ms. Loeschen placed Ms. Ajpacaja and Mr. Hogan under oath.

Judge Barksdale asked Mr. Pacheco-Lopez questions to assess competency.

Judge Barksdale advised Mr. Pacheco-Lopez of his rights.

Ms. Hanania confirmed receipt of the indictment.

Mr. Corsmeier read the indictment and explained the possible penalties.

Mr. Pacheco-Lopez entered a plea of not guilty to count one of the indictment.

Mr. Corsmeier advised the Court that discovery has been provided.

The parties must file any motions by September 15, 2017.

The parties agreed to provide witness lists and Jencks material three calendar days

before trial.
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The Honorable Timothy J. Corrigan will conduct a status conference on September
18, 2017, at 4:00 p.m., and the trial during the October 2, 2017, trial term. Judge
Barksdale will enter Judge Corrigan’s standing scheduling order.




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